                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        Case No. 3:09-00047
                                             )        Senior Judge Nixon
ADRIAN PATTERSON                             )



     POSITION OF DEFENDANT ADRIAN PATTERSON WITH RESPECT TO
                       SENTENCING FACTORS

       COMES NOW the Defendant, Adrian Patterson, by and through his

undersigned counsel, and pursuant to Administrative Order No. 117-3 of the U.S. District

Court for the Middle District of Tennessee, hereby identifies the following objections to

the Revised Presentence Report (disclosed 6/12/12).

I.     OBJECTIONS TO REVISED PRESENTENCE REPORT

       A.      ¶ 23 – Defendant Patterson denies that he possessed a firearm.


       B.      THE TWO-LEVEL FIREARM ADJUSTMENT CONTAINED IN
               PARAGRAPH 32 OF THE PRESENTENCE REPORT IS NOT
               SUPPORTED BY THE FACTS OR THE LAW.

       The Presentence Report assigns 2-levels based upon the trial testimony of Robert

Bell regarding Patterson’s alleged possession of a firearm located in a vehicle on 12/1/06.

See Revised PSR at ¶¶ 23 & 32.

       The advisory United States Sentencing Guidelines (Guidelines) contemplate a two

(2) level increase in the base offense level for a defendant found guilty of a drug crime

“[i]f a dangerous weapon (including a firearm) was possessed.” U.S.S.G. §2D1.1(b)(1).

In order for the §2D1.1(b)(1) enhancement to apply, the government must prove “(1) that




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the defendant ‘possessed’ the weapon, and (2) that such possession was during the

commission of the offense.” United States v. Tisdale, 952 F.2d 934, 937 (6th Cir.1992)

(quoting United States v. Sanchez, 928 F.2d 1450, 1460 (6th Cir.1991)). “Possession

‘during the commission of the offense’may be found if the firearm ‘could have facilitated

[the] illegal [drug] transactions.’” Id. (quoting United States v. Snyder, 913 F.2d 300,

304 (6th Cir.1990)). Once the government shows that the defendant was in possession of

a weapon, a presumption arises that such possession was connected to the offense. Id.;

United States v. Cochran, 14 F.3d 1128, 1132 (6th Cir.1994). To avoid application of

the enhancement, the defendant must then show that “it is clearly improbable that the

weapon was connected with the offense.” U.S.S.G. §2D1.1, comment.(n.3); accord,

United States v. Hill, 79 F.3d 1477, 1485 (6th Cir.1996); United States v. Calhoun, 49

F.3d 231, 236 (6th Cir.1995). Application Note 3 states, in pertinent part, as follows:

               The enhancement for weapon possession reflects the
               increased danger of violence when drug traffickers possess
               weapons. The adjustment should be applied if the weapon
               was present, unless it is clearly improbable that the weapon
               was connected with the offense. For example, the
               enhancement would not be applied if the defendant,
               arrested at his residence, had an unloaded hunting rifle in
               the closet.

U.S.S.G. §2D1.1, comment.(n.3).

       In this case, the presentence report does not allege that Defendant Patterson

possessed a firearm while engaged in the distribution of drugs. In United States v. Peters,

the Sixth Circuit upheld a district court’s refusal to grant a sentencing enhancement for

possession of a weapon. 15 F.3d 540 (6th Cir.1994). During a search of Mr. Peters’

home, officers located a small plastic bag containing crack cocaine on the corner of a

dresser in the defendant’s bedroom. A digital pager sat nearby. In a drawer below the



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cocaine, the officers found a semi-automatic .38 caliber pistol and a fully-loaded

magazine in a zippered leather pouch. A search of a pair of Peters’ pants found lying on

a suitcase next to the bed revealed a roll of cash totaling approximately $988.00. Peters,

15 F.3d at 542. The Peters Court upheld the district court’s judgment, based upon the

evidence as a whole, that the pistol was not connected to the drug offense. Id. at 546.

       Given the state of the record, there is no proof that Mr. Patterson possessed a

weapon in connection with drug trafficking.        Liability under U.S.S.G. §2D1.1 for

possession of a firearm requires some connection between the weapon and the offense.

The PSR does not establish such a connection. Therefore, the two-level enhancement

under U.S.S.G. §2D1.1 is inappropriate. 1

II.    DEFENDANT PATTERSON PROVIDES NOTICE THAT HE DENIES
       THE FACT OF PRIOR CONVICTIONS AND CHALLENGES THE
       CONSTITUTIONALITY OF THE STATUTORY, RECIDIVISM
       ENHANCEMENT WHICH MANDATES A MINIMUM LIFE SENTENCE
       IN HIS CASE. See PSR at p.1, 22 and ¶ 70.

       Defendant Patterson recognizes the current state of the law as codified at 21

U.S.C. §§ 841(b)(1)(A) & 851 and as articulated by the Supreme Court in Almendarez-

Torres v. United States, 523 U.S. 224 (1998). However, it appears that Almendarez-

Torres may not be valid in light of the Booker and Shepard decisions. Defendant

Patterson suggests that a change in the law is warranted since prior convictions are

“facts” used to enhance the sentence and those “facts” exponentially increase Defendant



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  On May 12, 2011, the Sixth Circuit vacated an 18 U.S.C. § 924(c) gun conviction based
upon insufficient proof. “We are left, then, with nothing more than the fact that the guns
were found in a duffel bag near a relatively small amount of drugs in an apartment in
which multiple people lived and in which there is no other evidence indicating that the
guns were possessed to facilitate or promote drug trafficking.” United States of America
v. Raymond Leary, No. 09-5418, United States Court of Appeals for the Sixth Circuit,
filed 5/12/11.


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Patterson’s minimum mandatory sentence to life. Thus, Defendant Patterson challenges

the statutory enhancement. See, PSR at p. 1, 22 and ¶ 70.

       In 1998, the Supreme Court rendered its 5-4 majority opinion in Almendarez-

Torres v. United States, holding that recidivist enhancements were sentencing factors, not

elements, to be proven to the judge at sentencing by a preponderance of the evidence. 2

Almendarez-Torres v. United States, 523 U.S. 224 (1998). Then, in 2000, the Supreme

Court rendered its decision in Apprendi v. New Jersey, declaring that other than the fact

of a prior conviction, the Sixth Amendment demands that all other factors which enhance

a sentence beyond the statutory maximum must be charged and proven beyond a

reasonable doubt, or admitted by the defendant. Apprendi v. New Jersey, 530 U.S. 466

(2000). The Apprendi majority made prior convictions the exception to its holding based

upon Almendarez-Torres. In his concurrence in Apprendi, Justice Thomas promised the

imminent demise of recidivist enhancements as mere sentencing factors.               Apprendi,

supra, at 520-521, 120 S.Ct. 2348 (THOMAS, J., concurring). Justice Thomas strongly

disagreed with the prior conviction exception and announced that his swing-vote with the

majority in Almendarez-Torres had been wrong. Id.

2
  In Jones v. United States, 526 U.S. 227 (1999), the Supreme Court explained what the
fact of prior convictions was constitutionally distinct from other sentence-enhancing
facts, such that it was permissible, under Almendarez-Torres, to use prior convictions as a
sentence enhancer:
                One basis for the constitutional distinctiveness [of prior convictions] is not
                hard to see: unlike virtually any other consideration used to enlarge the
                possible penalty for an offense . . . a prior conviction must itself have been
                established through procedures satisfying the fair notice, reasonable
                doubt and jury trial guarantees.

Jones, 526 U.S. at 249 (emphasis added). Thus, Jones’ acceptance of the prior-
conviction exception was rooted in the concept that prior convictions have been, by their
very nature, subject to the fundamental procedural protections intended to guarantee the
validity of criminal convictions: fair notice, reasonable doubt, and the right to a jury trial.


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       On June 24, 2004, in Blakely v. Washington, the Supreme Court clarified its

Apprendi decision by defining “statutory maximum.” Blakely v. Washington, 124 S. Ct.

2531 (2004).     Then on January 12, 2005, the Supreme Court applied the Sixth

Amendment analysis to the federal sentencing Guidelines and rendered them advisory

only. United States v. Booker, 125 S. Ct. 738 (2005). Both Blakely and Booker paid lip

service to the “prior conviction” exception.

       However, on March 7, 2005, in Shepard v. United States, the Supreme Court

again raised serious questions about the continued vitality of the “prior conviction”

exception. Shepard v. United States, 125 S.Ct. 1254 (2005). Although Shepard did not

reverse Almendarez-Torres, it did restricts the facts district courts can consider in

determining whether a prior conviction qualifies for the enhanced Armed Career

Criminal penalty. Id. In Shepard, Justice Thomas again expressed reservation about the

viability of Almendarez-Torres in his concurrence, writing:

               Taylor and today’s decision thus explain to lower courts
               how to conduct factfinding that is, according to the logic of
               this Court’s intervening precedents, unconstitutional in this
               very case. The need for further refinement of Taylor
               endures because this Court has not yet reconsidered
               Almendarez-Torres v. United States, 523 U.S. 224, 118
               S.Ct. 1219, 140 L.Ed.2d 350 (1998), which draws an
               exception to the Apprendi line of cases for judicial
               factfinding that concerns a defendant's prior convictions.
               See Apprendi, supra, at 487-490, 120 S.Ct. 2348.
               Almendarez-Torres, like Taylor, has been eroded by this
               Court’s subsequent Sixth Amendment jurisprudence, and a
               majority of the Court now recognizes that Almendarez-
               Torres was wrongly decided. See 523 U.S., at 248-249, 118
               S.Ct. 1219 (SCALIA, J., joined by STEVENS, SOUTER,
               and GINSBURG, JJ., dissenting); Apprendi, supra, at 520-
               521, 120 S.Ct. 2348 (THOMAS, J., concurring). The
               parties do not request it here, but in an appropriate case,
               this Court should consider Almendarez-Torres’ continuing
               viability. Innumerable criminal defendants have been



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              unconstitutionally sentenced under the flawed rule of
              Almendarez-Torres, despite the fundamental “imperative
              that the Court maintain absolute fidelity to the protections
              of the individual afforded by the notice, trial by jury, and
              beyond-a-reasonable-doubt requirements.”         Harris v.
              United States, 536 U.S. 545, 581-582, 122 S.Ct. 2406, 153
              L.Ed.2d 524 (2002) (THOMAS, J., dissenting).

Shepard, 125 S.Ct. at 1263 -1264 (THOMAS, J., concurring).

       Given the fact that the Supreme Court’s Sixth Amendment jurisprudence is

substantially more developed now than it was in 2000 when Justice Thomas first called

for the Court to revisit Almendarez-Torres, it is clear that the “prior conviction”

exception derived from Almendarez-Torres will likely be revisited and reversed by the

Supreme Court. The Supreme Court avoided revisiting the constitutional question in

Shepard by construing the Armed Career Criminal statute in a manner that did not require

it to rely on Almendarez-Torres and by limiting inquiry into the facts of the prior

conviction to those already contained in the prior judicial record - thus eliminating

affirmative fact-finding by the sentencing judge. Had the Shepard Court approached the

issues in any other way, it would have required the Court to decide whether such fact-

finding is authorized by Almendarez-Torres.        Given the Supreme Court’s Sixth

Amendment rulings since Apprendi, it seems inescapable that only a jury can make

findings that increase the statutory maximum.

       Based upon the imminent demise of Almendarez-Torres’ holding that recidivism

is a sentencing factor and for the reasoning set forth in Justice Thomas’ concurrence in

Shepard, Defendant Patterson respectfully suggests that 21 U.S.C. § 841(b) and § 851




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(both recidivist statutes) are unconstitutional on their face. 3 Almendarez-Torres will

certainly be overruled by the Supreme Court because prior convictions cannot logically

be distinguished from other enhancement factors that increase the statutory maximum.

Pursuant to the Apprendi line of cases, the Sixth Amendment demands that the fact of a

prior conviction likewise must be charged and found by the jury beyond a reasonable

doubt, or admitted by the defendant, before the enhanced penalty can apply. 4 Defendant

Patterson has not admitted the fact of his alleged prior convictions. 5 He proceeded to

trial and invoked the fully protections of his Sixth Amendment right to jury trial. The

jury did not pass on the fact of his prior conviction. To re-impanel a jury to pass on those

factual contentions now would violate his double jeopardy rights. Consequently, the

Court should refuse to engage in fact-finding as to Defendant Patterson’s prior

convictions, decline to impose a statutory life sentence, and should impose sentence




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  It is a cardinal principle of statutory interpretation that, if there is a “serious doubt” as to
a statute’s constitutionality, the court must “first ascertain whether a construction of the
statute is fairly possible by which the question may be avoided.” Zadvydas v. Davis, 533
U.S. 678, 689 (2001) (quotations removed). As explained below, that principle must now
be applied when deciding whether 21 U.S.C. §§ 841(b) & 851 should be interpreted as
requiring that defendants charged with an recidivism enhancement are entitled to the right
to a jury trial and reasonable-doubt standard on the issue of the prior drug felony.
4
  Moreover, Almendarez-Torres can be distinguished because its vulnerability mandates
that it be read narrowly and strictly confined to the facts of that case. Those facts include
an admission to the prior conviction and a Fifth (not Sixth) Amendment challenge under
the due process clause.
5
 In order to preserve this constitutional issue for the record, Defendant Patterson is not
admitting the prior convictions alleged in the PSR and in the Information filed by the
government. Although not “inquired” by the Court in accordance with 21 U.S.C.
§851(b), Defendant Patterson herein provides written notice that he does not admit the
prior conviction alleged in the Information filed before the trial of this matter. See, 21
U.S.C. §851(c).


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paying heed only to the statutory minimum (10 years) reflected in the jury’s verdict. To

do otherwise would violate Defendant Patterson’s Sixth Amendment right to jury trial.

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                                                   Respectfully submitted,

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                                                   S:/ Peter Strianse
                                                   PETER J. STRIANSE
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been sent via the
Court’s electronic filing system unless not registered and, in that event deposited in the
United States mail, postage prepaid, to:


                              Sunny A.M. Koshy
                              Assistant United States Attorney
                              110 Ninth Avenue South
                              Suite A961
                              Nashville, TN 37203-3870

                              Via Email
                              Liberty Lander-Dyer
                              United States Probation Officer


       This 19th day of June, 2012.



                                              S/: Peter J. Strianse
                                              Peter J. Strianse




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